Case 1:18-cv-11642-VM-VF Document 346 Filed 09/16/22 Page 1 of 4

Court-Appointed Temporary Receiver for Link Motion Inc.

R b t W S : d Pursuant to The Honorable Judge Victor Marrero of the
0 e r e e i e n United States District Court, Southern District of New York

469 7" Avenue, 5th Floor

New York, New York 10018
Tel: (212) 523 - 0686

Email: rseiden@seidenlegal.com

VIA FAX (212) 805-6382

Hon. Victor Marrero

United States Courthouse
Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007

March 20, 2020

REQUEST FOR THIS LETTER AND THE ATTACHED INVOICES TO BE
MAIN'FAINED UNDER SEAL

Re: Interim Receiver Status Report and Fee Application of the Temporary Court-
Appointed Receiver of Link Motion, Inc, (Wayne Baliga v. Link Motion Inc. et al.
1:18-cv-11642)

Dear Honorable Judge Marrero,

I write io you pursuant to your Honor’s February 1, 2019 Order (the “Order”) to
provide an interim status report. Over the past seven weeks my office has continued its
pursuit of securing and maintaining assets of LKM inside the PRC, Hong Hong and the
US, as well as actively participating in the Hong Kong arbitration proceedings with respect
to the transfer of significant assets outside of the control of LKM. In addition, I respectfully
request that your honor review and if acceptable, approve the invoices of the Receiver and
his professionals.

Interim Status Report

Pursuant to Section 8 of your Honor’s Order, set forth below is a summary of the
key updates since the last-filed status report, filed on January 14, 2020.

1. The Receiver continues to work with local and foreign counsel, including Kobre &
Kim LLP, foreign legal counsel in Hong Kong as well as accounting firm KLC
Corporate Advisory to assist him in his duties outside of the United States,
including with the arbitration and a plethora of issues inside China and Hong Kong
related to the asset transfers of LKM and legal issues raised therefrom. This
includes correspondence from banks and Court inside China. The Receiver is also
actively working with KSG Attorneys at Law in the Cayman Islands, as approved
Case 1:18-cv-11642-VM-VF Document 346 Filed 09/16/22 Page 2 of 4

Court-Appointed Tamporary Receiver for Link Motion Inc.

R b t W S ° d Pursuant to The Honorable Judge Victor Marrero of the
Oo e r e e i e n United States District Court, Southern District of New York

by the Court, to assist with securing and maintaining assets and with other issues
related to corporate governance in the Cayman Islands.

With the help of KSG, the Receiver and the US Court Order appointing the Receiver
have now been formally recognized in the Cayman Islands by the Cayman Court.

2. The Receiver and his U.S. counsel filed a required form 6-K with the SEC reporting
that the Receiver has, after conducting due diligence, appointed a new director of
the Hong Kong subsidiary of Link Motion, Inc. as well as removed and replaced
the Legal Representative of the wholly foreign-owned enterprise (“WFOE”) in the
People’s Republic of China. This action will help to ensure the preservation of
assets and value. ‘

3. The Receiver, as Ordered by the Court, and upon strong advice of Hong Kong
counsel, is actively participating in the arbitration proceedings in Hong Kong where
the Company is a party. The arbitration tribunal issued its Procedural Order, which
sets out the procedural timetable for the proceeding. The Order confirmed the dates
of the arbitration proceeding in Hong Kong to be March 30 — April 3, 2020, and
also scheduled a pre-hearing conference for March 4, 2020. The governing iaw in
the arbitration proceeding is New York law, Amiad Kushner, Esq. of Seiden Law
Group LLP, along with support staff, will lead the arbitration litigation on behalf
of the Receiver. Mr. Kushner is a very experienced arbitration attorney and has vast
experience in Hong Kong arbitration proceedings. Mr. Kushner will be assisted by
Michael Stolper, Esq., a three decade litigator with vast experience in commercial
litigation and arbitrations. Counsel for the Receiver has submitted and filed a
statement of Defense and Counterclaims on behalf of Link Motion, inc., which
included legal authorities, briefing and testimonial evidence in support of Link
Motion, Inc.’s defenses and counterclaims. In addition, the Receiver’s staff
continue to work diligently reviewing and analyzing contracts, legal documents and
emails produced by DLA Piper, Marcum, Skadden Arps and Loeb & Loeb for
purposes of evaluating the complex financial transactions entered into by Link
Motion, Inc. with various related and unrelated entities. ‘This evaluation will heip
inform the Hong Kong arbitration and ongoing Chinese legal proceedings.

Since my last report, the Receivership has been extensively engaged in litigating in
the Hong Kong arbitration proceedings and has filed counter-claims against the
Claimant. The Receiver has recently won on jurisdictional grounds its argument
before the Hong Kong arbitration panel, which will allow the counter-claims
alleged by LKM to be litigated in the same arbitration proceedings as the claim
alleged by the Claimant.

4, The Receiver, upon advice of counsel, continues its work to identify, secure and
preserve assets of Link Motion, Inc., including sending formal letters and calls to
commercial partners in the United States ensuring that they are aware of the
Receivership orders in the U.S. and Hong Kong.
Case 1:18-cv-11642-VM-VF Document 346 Filed 09/16/22 Page 3 of 4

Court-Appointed Temporary Receiver far Link Motion tne.

R b t W S . d Pursuant to The Honorable Judge Victor Marrero of the
O e r e e [ e Nn United States District Court, Southern District of New York

5. The Receiver continues to seck cooperation from former Officers and Directors of
Link Motion, Inc. and former counsel to Link Motion and the Special Committee
and follows up on demands for information as well as formal letters requesting
information and compliance with the Courts Order.

6. The Receiver and his team continue to analyze documents and communication
records produced by third party service providers in the US that had previously
been engaged by the Company. In addition, the Receiver and his team have received
large volumes of discovery in the Hong Kong arbitration proceedings and are
actively reviewing and analyzing these documents and emails. In this regard, my
office has engaged an outside third party vendor for the purpose of litigation e-
discovery and search technology (“DISCO” is the name of the third party service
provider).

7. The Receiver in concert with the Hong Kong co-Receiver and their legal counsel
had previously taken formal control of Link Motion, Inc.’s Hong Kong subsidiary
and this has been formally recognized by the company registry offices in Hong
Kong. The Receiver through his PRC agents has taken the proper steps to gain
formal controi of the wholly foreign-owned enterprise (WFOE) in the People’s
Republic of China. The Receiver’s PRC agent is actively pursuing efforts to secure
the bank account of the WOFE from China Merchants Bank. In this regard, the
Receiver used the passage of corporate resolutions and has appointed Mr. Lilin Guo
to act as Chairman and legal representative of Link Motion, Inc. inside the PRC.
Mr. Guo has successfully negotiated with other significant Link Motion, Inc.
shareholders inside the PRC to assist in the process of gaining control of the VIE
(Variable Interest Entity) contracts that ultimately maintain control over the Link
Motion, Inc. PRC subsidiaries. These activities are ongoing and include legal
proceedings inside China. The Receiver has also continued to work with Mr.
Jianfeng Li who has provided invaluable English-Chinese and Chinese-English
translation and advisory services inside China. The Receiver has engaged Mr,
Henry Liu to assist with issues in China and the U.S., especially to advise and
consult on legal issues and matters as they relate to ongoing litigation in China. Mr.
Liu is the former head of the China SEC. In addition, Mr. Liu is consulting Mr.
Lilin Guo inside China on the various legal issues as they relate to U.S. and Chinese
law and regulations. Mr. Liu’s expertise is in international dispute resolution, global
asset recovery, cross-border securities fraud and FCPA and money-laundering
issues, Mr. Liv is a renowned senior U.S. and international practicing lawyer as
well as an experienced strategic and business advisor. He has had a distinguished
career spanning 25 years with extensive experience in China’s financial, securities
and regulatory framework and rules.

8. The Receiver has interviewed management from Link Motion, Inc.’s Finland
operation in regards to possibilities for monetizing the Company’s intellectual
preperty assets controlled there. The Receiver and his counsel has had multiple
conversations and correspondence with Finland management in this regard.
Case 1:18-cv-11642-VM-VF Document 346 Filed 09/16/22 Page 4 of 4

Court-Appointed Temporary Receiver for Link Motion Inc.
R b t W S 2 d Pursuant to The Honorable Judge Victor Marrero of the
O e r e el e Nn United States District Court, Southern District of New York

Receivership Account and Invoices

Section 5 of your Honor’s Order provides for a bank account “to fund the
Receivership including the compensation and expenses of the Receiver, which are subject
to the approvai of the Court.” The Court ordered that Link Motion, Inc. “cooperate with
the Receiver in establishing and funding the Receivership Account” with a minimum
balance of $100,000. Link Motion, Inc. has continually not complied with this order and
no funds have been provided.

Section 6 of the Order states, “The Receiver and his professionals shall be paid on
an hourly basis at a reasonable and customary rate for such work to be approved by the
Court and paid promptly out of the Receivership Estate .. . Payment of the Receiver's
compensation and expenses shall have priority over all other obligations, payments, or
distributions of the Company.” The Receiver respectfully requests that the attached
invoices be reviewed by your honor, and subject to your approval, permit the Recertver to
pay invoices to professionals and the Receiver who have been working tirelessly on this
matter since February 1, 2019. The Receiver has carefully reviewed each invoice and
believes they are fair and reasonable under the circumstances. The Receiver respectfully
requests this Court’s approval to pay the invoices upon approval of the Court from the Link
Motion, Inc. funds that have been received in the Receiver escrow trust account.

Piease do not hesitate to contact me via email or telephone if your honor wishes to
discuss this request in more detail.

Respectfully submitted, .

Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion, Inc.

